EXHIBIT 2

Case 3:19-cv-00173-HSM-DCP Document 1-2 Filed 05/13/19 Page 1of28 PagelD#: 7
®. CT Corporation Service of Process
Transmittal
04/15/2019
CT Log Number $35296991

TO: Rosemarie Pierce
Comcast Corporation
1701 John F. Kennedy Blvd, One Comcast Center - 50th Fleer
Philadetphia, PA 19103

RE: Process Served in Pennsyivania
FOR: Comcast Corporation (Domestic State: PA}

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE AROVE COMPANY AS FOLLOW™:

TITLE OF ACTION: Clarence Foust, etc., Pitf. vs. Comcast Corporation, Dft.
BOCUMENT(S) SERVED: Summons, Notice, Return, Complaint, First Interrogatories, First Requests For
Production
COURT/AGENCY: Knox County - Circuit Court, TN
Case # 310319
NATURE OF ACTION: PRAYER FOR RELIEF
ON. WHOM PROCESS WAS SERVED; CT Corporation System, Harrisburg, PA
BATE AND HOUR OF SERVICE: By Certified Mail on 04/15/2019 postmarked on 04/10/2019
JURISDICTION SERVED 1 Pennsylvania
APPEARANCE OR ANSWER DUZ: Within 30 days after service of this summons and complaint upon you, exclusive of
the day of service.
ATTORNEY(8) | SENDING) Benjamin J, Miller
Ben Miller of Higgins Firm, PLLC
525 4th Ave, So
Nashville, TN 37210
615-353-0930
ACTION ITEMS: CT has retained the current log, Retain Date: 04/16/2019, Expected Purge Date:
04/21/2019
Image SOP
SIGNER: CT Corporation System
ADDRESS: 600 N. and St., ste 401
Harrisburg, PA 17101-1071
TELEPHONE: 609-538-1818
Page 1 of 1/ SV

information displayed on this transmittal is for CT
Corporation's record keeping purposes only and ts provided to
the recipient for quick reference. This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained In the documents themselves. Reciptant ts
responsible for interpreting sald documents and for taking
appropriate action. Signatures on certified mall receipts
confirm recelpt of package only, not contents,

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Case 3:19-cv-00173-HSM-DCP Document 1-2 Filed 05/13/19 Page 3o0f 28 PagelD #: 9
STATE OF TENNESSEE CHang se ED

 

 

THE CIRCUIT COURT FOR KNOX COUNTY 2:2 SUSANO
SUMMONS 2019 MAR 25 PH 3:42
Clarence Fouat, Individually and on behalf of KiGx, ai : vase
all others similarly situeted PLAINTIFF) Sry aan! rT
AnD dete ciuavs
vs. CIVIL ACTION No. _ 3. 103-49
Comcast Corporation DEFENDANT )
To the above naméd-d (s):

You are hereby summoiied and required to serve upon Claren Clarence Foust, et al
laintiff / plaintiff's attorney, whose address is

Ben Miler of Higgs Fim, PLLC, G28 4th Ave. South, Nashville, TN 372th answer to the complaint
herewith served upon you within 30 days after service of this summons and complaint upon you,
exclusive of the day of service. A copy of the answer must be filed with the court either before
or within a reasonable time after service. If you fail to do so, judgment by default can be taken
against you for the relief demanded in the complaint.

Issued and attested this the 2.5 day of Alaa 9 .

 

   

 

Charles D. Susano II, Clerk cs
ADA | ace fy?
FORASSISTANCE CALL Deputy Clerk

865 / 215-2952
TTY: 865 / 215-2497

 

. NOTICE
To the defendant (s):

Tennessee law provides a Ten Thousand dollar ($10,000) personal property exemption
from execution or seizure to satisfy a judgment. If a judgment should be entered against you in
this action and you wish to claim property as exempt, you must file a written list, under oath, of
the items you wish to claim as exempt with the clerk of the court. The list may be filed at any
time and may be changed by you thereafter as necessary; however, unless it is filed before the
judgment becomes final, it will not be effective as to any execution or gamishment issued prior
to the filing of the list. Certain items are automatically exempt by law and do not need to be
listed; these include items of necessary wearing apparel for yourself and your family and trunks
or other receptacles necessary to contain such apparel, family portraits, the family bible, and
school books. Should any of these items be seized you would have the right to recover them. If
you do not understand your exemption right or how to exercise it, you may wish to seek counsel

of a lawyer.

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a SERVICE INFORMATION
To the process server:
Defendant_Comcast Corporation can be served at:

 

cio Reg Agent, CT Corporation System, 600 N. 2nd Street, Suite 401, Harrisburg, PA 17101-1071

 

 

 

RETURN
I received this summons on the _day of >
I hereby certify and return thatonthe__—_—day of ; aS:
¥ { ] served.this sufamons and complaint on the defendant in the following
or. - Manner. —— :

oa

%  [ ) failed to servé this summons within 30 days after its issuance because:

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Process Server (Required to be filled out by Process Server)
Name (please print):
Address:

 

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CHAR Fit ED

Cost Bond IN THE CIRCUIT COURT OF KNOX COUNTY, Sbe/SANO
STATE OF TENNESSEE
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No. - 103.

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Comeae t- Corp:

Defendant (s)

 

 

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as Principal(s) and Sen Atte?”

as Surety, are held and firmly bound unto the Circuit Court Clerk of Knox County, Tennesses for the
payment of al costs awarded against the principal. To that end, we bind ourselves, our heirs, executors
an inistrators.

 

The Principal(s) is/are commencing legal proceeding in the Circuit Court of Knox County,
Tennessee. If the Principal(s) shall pay all costs which are adjudged against them then this obligation is
void. If the Principals) fail to pay then the surety shall undertake to pay all costs adjudged against the
Principal{s). Mandated at T.C.A. 20-12-120 et seq.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

- PRINCIPALS)

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(Print or Type) Principal Principal ~
Social Security # Social Security #

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SIGNA OF SURETY / Address

Case 3:19-cv-00173-HSM-DCP Document 1-2 Filed 05/13/19 Page 6 of 28 PagelD #: 12
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FILED
CHARLES 0 SUSANO IN
IN THE CIRCUIT COURT OF KNOX COUNTY, TENNESSEE! ERK

 

 

Clarence Foust, individually and on 2OI9HAR 25 PM 3:42
behaif of all others similarly situated, KNOX s a
" CIVIL ee CIRCUIT

Plaintiff, Arid JUVENILE > couatTs

ve CaseNo: 3~!03-19
JURY DEMAND

Comcast Corporation,

Defendant.

COMPLAINT

 

Plaintiff Clarence Foust, individually and on behalf of all others similarly situated, alleges

on personal knowledge, investigation of his counsel, and on information and belief as follows:
NATURE OF ACTION

). Plaintiff brings this action for damages, and other legal and equitable remedies,
resulting from the illegal actions of defendant in negligently, knowingly, and/or willfully
contacting plaintiff and class members on their cellular telephones via an “automatic telephone
dialing system,” as defined by 47 U.S.C. § 227(a)(1), and/or using “an artificial or prerecorded
voice” as described in 47 U.S.C, § 227(b)(1)(A), without their prior express consent within the
meaning of the Telephone Consumer Protection Act, 47 U.S.C. § 227 ef seq., and the Federal
Communication Commission rules promulgated thereunder, 47 C.F.R. § 64.1200 (hereinafter
referred to as the “TCPA”).

2. ‘Plaintiff brings this action for injunctive relief and statutory damages resulting from
defendant's illegal actions.

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JURISDICTION AND VENUE

3. Jurisdiction and venue are proper in this court because a substantial part of the

events or omissions giving rise to this cause of action accrued in Knox County, Tennessee, where

defendant transacts business.
PARTIES
4, . Plaintiff is, and at al) times mentioned herein was, a resident of Knox County,
Tennessee.
5. ‘Defendant is, and at all times mentioned herein was, a Pennsylvania corporation

doing business in Knox County, Tennessee.

 

6. In 1991, Congress enacted the TCPA,' in response to a growing number of
consumer complaints regarding certain telemarketing practices.

7. The TCPA regulates, among other things, the use of automated telephone
equipment, or “autodialers,” and prerecorded voices. Specifically, the plain language of section
227(b(1)(A)(Gil) prohibits the use of an autodialer or prerecorded voice to make any call to a
wireless number in the absence of an emergency or the prior express consent of the called party.”

8. According to findings by the FCC—the agency Congress vested with authority to
issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,
automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live

solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that

 

' Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394 (1991),
‘ codified at 47 U.S.C. § 227. The TCPA amended Title II of the Communications Act of 1934, 47
U.S.C. § 201 et seg.

247 U'S.C. § 227(b)(I)(AMiii).

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wireless customers are charged for incoming calls whether they pay in advance or after the minutes
are used.?

9. On January 4, 2008, the FCC released a Declaratory Ruling wherein it confirmed
that autodialed and prerecorded message calls to a wireless number by a creditor (or on behalf of
a creditor) are permitted only if the calls are made with the “prior express consent” of the called
party. The FCC “emphasize[d] that prior express consent is deemed to be granted only if the
wireless number was provided by the consumer to the creditor, and that such number was provided
during the transaction that resulted in the debt.owed.”*

10, ‘Under the TCPA, the burden is on defendants to demonstrate prior express consent.

FACTUAL ALLEGATIONS

11.- Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47
U.S.C. § 153(39).

12. ‘Plaintiff had a cellular telephone number ending in 8123,

13.° Beginning in late 2017 or early 2018, plaintiff began receiving calls from defendant
on his cetlular telephone number ending in 8123.

14, | When plaintiff answered the calls, he heard a noticeable pause (characteristic of
autodialed calls) followed by a live person or a prerecorded voice.

15. The calls were for the purpose of attempting to collect equipment or other debt.

16. ‘Plaintiff was not a customer of defendant in 2017 or 2018.

 

3 Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Red 14014 (2003).

4 In the Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act of
1991 (FCC Declaratory Ruling”), 23 F.C.C.R. 559, 23 FCC Red. 559, 43 Communications Reg.
(P&F) 877, 2008 WL 65485 (F.C.C.) (2008).

5 FCC Declaratory Ruling, 23 F.C.CR. at 564-65 ({ 10).

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_/_

17. _—‘ Plaintiff did not have any of defendant's equipment or otherwise owe it a debt in
2017 or 2018.

18. Plaintiff told defendant's representatives that he was not a customer and did not
have any of defendant's equipment or otherwise owe it a debt, and he asked them several times to
stop calling.

19. Plaintiff continued to receive numerous calls on his cellular telephone from
defendant, sometimes as many as four a day.

20. The calls were repeated, annoying, intrusive, and harassing.

21. Many or all of the calls by defendant to plaintiff's cellular telephone occurred via
an “automatic telephone dialing system,” as defined by 47 U.S.C. § 227(a)(1), and/or used “an
artificial or prerecorded voice” as described in 47 U.S.C. § 227(b)(1)(A).

22. Defendant’s calls to plaintiff's cellular telephone were not “for emergency
purposes” as described in 47 U.S.C. § 227(bX1)(A).

23. = Plaintiff did not provide his cellular telephone number during a transaction that
resulted in a debt owed to defendant.

24. Plaintiff did not provide prior express consent to receive autodialed or prerecorded
calls from defendant on his cellular telephone.

25. Plaintiff requested several times that defendant stop calling his cellular telephone.

26. Defendant's calls to plaintiff's cellular telephone utilizing an “artificial or
prerecorded voice” or placed by an “automatic telephone dialing system” for non-emergency
purposes and in the absence of plaintiff's prior express consent violated 47 U.S.C. § 227(b)(1)(A).

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27.° The burden is on defendant to demonstrate that plaintiff provided prior express

consent within the meaning of the statute.®
CLASS ACTION ALLEGATIONS

28. Plaintiff brings this action individually and on behalf of all others similarly situated
(hereinafter referred to as “the class”).

29. Plaintiff proposes the following class definition, subject to amendment as
appropriate: ;

All persons within the United States who, on or after [DATE], received a non-

emergency call from defendant to a cellular telephone through the use of an

automatic telephone dialing system or an artificial or prerecorded voice and who

did not provide prior express consent for such calls.
Collectively, all these persons will be referred to as “class members.” Plaintiff represents, and is a
member of, the class, Excluded from the class are defendant and any entities in which
defendant has a controlling interest, defendant's agents and employees, any judge to whom this
action is assigned and any member of such judge’s staff and immediate family, and claims for
personal injury, wrongful death and/or emotional distress.

30. Plaintiff does not know the exact number of members in the class, but plaintiff
reasonably believe that class members number at minimum in the thousands.

—-«231,__-Plaintiff and all members of the class have been harmed by the acts of defendant,

because their privacy has been violated, they were subject to annoying and harassing calls that
constitute a nuisance, and they were charged for incoming calls.

32.- This class action complaint seeks injunctive relief and money damages.

33. The joinder of all class members is impracticable due to the size and relatively

modest value of each individual claim, The disposition of the claims in a class action will provide

 

6 See FCC Declaratory Ruling, 23 F.C.C.R. at 565 (4 10).

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substantial benefit to the parties and the court in avoiding a multiplicity of identical suits. The class
can be identified easily through records maintained by defendant.

34. There are well defined, nearly identical, questions of law and fact affecting all
parties. The questions of law and fact involving the class claims predominate over questions which
may affect individual class members. Those common questions of law and fact include, but are
not limited to, the following:

&. Whether defendant made non-emergency calls to plaintiff's and class members’

cellular telephones using an automatic telephone dialing system and/or an artificial
or prerecorded voice;

b. Whether defendant can meet its burden of showing it obtained prior express consent
(i.e., consent that is clearly and unmistakably stated) to make guch calls;

c. Whether defendant's conduct was knowing and/or willful;
d. Whether defendant is Hable for damages, and the amount of such damages; and
“e. Whether defendant should be enjoined from engaging in such conduct in the future.

35. As a person who received numerous and repeated calls on his cellular telephone
using an automatic telephone dialing system or an artificial or prerecorded voice, without prior
express consent within the meaning of the TCPA and rules, plaintiff asserts claims that are typical
of each class member, Plaintiff will fairly and adequately represent and protect the interests of the
class, and he has no interests which are antagonistic to any member of the class.

36. Plaintiff has retained counsel experienced in handling class action claims involving
violations of federal and state consumer protection statutes, including claims under the TCPA.

37. Acclass action is the superior method for the fair and efficient adjudication of this
controversy. Class wide relief is essential to compel defendant to comply with the TCPA. The
interest of class members in individually controlling the prosecution of separate claims against

defendant is smal] because the statutory damages in an individual action for violation of the TCPA

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are relatively small. Management of these claims is likely to present substantially fewer difficulties
than are presented in many class claims because the calls at issue are all automated and the class
members, by definition, did not provide the prior express consent required under the statute to
authorize calls to their cellular telephones.

38. Defendant has acted on grounds generally applicable to the class, thereby making
final injunctive relief and corresponding declaratory relief with respect to the class as a whole
appropriate. Moreover, on information and belief, plaintiff alleges that the TCPA violations
complained of herein are substantially likely to continue in the future if an injunction is not entered.

CAUSES OF ACTION
1. FIRST COUNT: KNOWING AND/OR WILLFUL VIOLATIONS OF THE

TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. § 227 ET SEQ.; 47

CF.R. § 64.1200

39. Plaintiff incorporates by reference the foregoing paragraphs of this complaint as if
fully stated herein.

40. The foregoing acts and omissions of defendant constitute numerous and multiple
knowing and/or willful violations of the TCPA, including but not limited to each of the above-
cited provisions of 47 U.S.C. § 227 ef seg. and 47 C.F.R. § 64.1200.

41.  Asaresult of defendant's knowing and/or willful violations of 47 U.S.C. § 227 ef
seg, and 47 C.F.R, § 64,1200, plaintiff and each member of the class are entitled to treble damages
of $1,500.00 for each and every violation of the statute, pursuant to 47 U.S.C. § 227(b)(3).

42. Plaintiff and all class members are also entitled to and do seek injunctive relief
prohibiting such conduct violating the TCPA by defendant in the future. Plaintiff and class

members are also entitled to an award of attorney fees and costs,

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Ii. SECOND COUNT: STATUTORY VIOLATIONS OF THE: TELEPHONE
CONSUMER PROTECTION ACT, 47 U.S.C. § 227 ET SEQ.; 47 C.F.R. § 64.1200

43. Plaintiff incorporates by reference the foregoing paragraphs of this complaint as if
fully set forth herein.

44, The foregoing acts and omissions of defendant constitute numerous and multiple
violations of the TCPA, including but not limited to each of the above cited provisions of 47 U.S.C.
§ 227 ef seg. and 47 C.F.R. § 64.1200,

45. Asa result of defendant’s violations of 47 U.S.C. § 227 ef seg. and 47 C.F.R. §
64.1200, plaintiff and class members are entitled to an award of $500.00 in statutory damages for
each and every violation of the statute, pursuant to 47 U.S.C. § 227(b)(3B).

1 46. ‘Plaintiff and class members are also entitled to and do seek injunctive relief
prohibiting defendant's violation of the TCPA in the future.

47.° Plaintiff and class members are also entitled to an award of attorney fees and costs.

PRAYER FOR RELIEF

WHEREFORE, plaintiff respectfully requests that the court grant plaintiff and all class
members the following relief against defendant:

A. _Injunctive relief prohibiting such violations of the TCPA by defendant in the
future;

B. As a result of defendant’s willful and/or knowing violations the TCPA, plaintiff
seeks for himself and each class member treble damages, as provided by statute, of $1,500 for
each and every violation of the TCPA;

Cc. As a result of defendant’s statutory violations the TCPA, plaintiff seeks for
himself and each class member $500 in statutory damages for each and every violation of the
TCPA; "

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D. Anaward of attorney fees and costs to counsel for plaintiff and the class;

E, An order certifying this action to be a proper class action pursuant to Tennessee
Rule of Civil Procedure 23, establishing an appropriate class, finding that plaintiff is a proper
representative of the class, and appointing the lawyers and law firm representing plaintiff as
counsel for the class; and

F. * Such other relief as the court deems just and proper.

Respectfully Submitted,

LO

“BENTAMAIN J. R (#25575)
525 4th Ave S
Nashville, TN 37210
(615) 353-0930

INS FIRM,

 

Attorneys for Plaintiff

*

Case 3:19-cv-00173-HSM-DCP Document 1-2 Filed 05/13/19 Page 15 of 28 PagelD #: 21
CHARLES p
IN THE CIRCUIT COURT OF KNOX COUNTY, TENNESSEE ©LERK

 

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Clarence Foust, individually and on
behalf of all others similarly situated, “aly ees CCUNT,
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Plaintiff, LE Counts

v. CaseNo: 3 103-19
JURY DEMAND

Comcast Corporation,

Defendant.

 

PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT

 

Pursuant to Rule 33 of the Tennessee Rules of Civil Procedure, plaintiff requests that
defendant answer the below interrogatories in writing and under oath. Responses are to be provided

to plaintiff counsel within 45 days of service.

YOUR answer to each interrogatory must include al] information known to YOU or
otherwise available to YOU, including information within the knowledge or possession of YOUR
attomeys, investigators, or other agents.

Where a complete answer to a particular interrogatory is not possible, the interrogatory

should be answered to the extent possible and a statement should be made indicating why only a

partial answer is given.

If any information called for by any interrogatory herein is withheld because YOU claim -

that such information is protected from discovery by the attomey work product doctrine or by any
privilege, YOU shall state the nature of the claim of privilege or protection; the specific factual
basis of the claimed privilege or other protection from discovery; the dates applicable to the

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information at issue; the source of the information or the identities of those who generated the
information, including relevant business or legal titles or positions; the identity of the recipient of
the information, including business or legal titles or positions; the subject matters at issue; and the
identities of all other PERSONS who received copies or otherwise learned of the information.

Unless otherwise indicated, these interrogatories shall pertain to the time period of
September 1, 2014 to the present and shall include all information that RELATES in whole or in
part to such period, or to events or circumstances during such period, even though dated, prepared,
generated, or received prior or subsequent to that period.

Wherever the word “or” appears herein, the meaning intended is the logical inclusive “or,”
i.e, “and/or.”

These interrogatories shall be deemed continuing so as to require seasonable supplemental
responses as YOU or YOUR attorneys obtain further information or materials from the time

YOUR answers are served until the time of trial.

 

The following terms shall have the following meanings:

1. “AUTOMATED CALL” means any attempt to connect with a PERSON via placing
a telephone call or text message using equipment that has the capacity to (a) store or produce
telephone numbers to be called, or telephone numbers to which text messages can be sent; and (b)
dial such telephone numbers or send text messages without human intervention, whether or not
such capacity was actually used to place a particular call or send a particular message. An
AUTOMATED CALL also means a call placed or a text message sent using a predictive dialer as
defined by the Federal Communications Commission in Rules and Regulations Implementing the
Telephone Consumer Protection Act of 1991 (’TCPA”), CG Docket No. 02-278, Report and

‘

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Order, 18 FCC Red 14014, 14091 (2003), ¥ 131, and/or Jn re Rules and Regulations Implementing
the Telephone Consumer Protection Act of 1991, GC Docket 02-278, Order on Motion for
Reconsideration by ACA Intemational, 23 F.C.C.R. 559,99 12-14 (Gan. 4, 2008). An
AUTOMATED CALL also means a COMMUNICATION employing an artificial or prerecorded
voice, regardless of how such a COMMUNICATION was initiated.

2. ° “COMMUNICATION” means an instance in which words or information are
transferred or transmitted between two or more PERSONS by whatever manner or means, and
regardless of how or by whom the COMMUNICATION was initiated, including, but not limited
to, correspondence, conversation, instructions, meetings, requests, demands, and conferences.

3. “CONCERNING” or “RELATING TO” means referring to, regarding, describing,
evidencing, constituting, discussing, memorializing, summarizing, recording or providing
evidence of a subject matter.

4, The terms “DOCUMENT” or “DOCUMENTS” include, without limitation, any
ELECTRONICALLY STORED INFORMATION and/or typewritten, handwritten, graphic,
photographic, printed or otherwise recorded matter or recording of symbols in tangible form,
however produced or reproduced, of every kind and regardless of where located, which is in
YOUR possession, custody, or control; or in the possession, custody or control of any servant or
agent of YOU or of YOUR attomeys. The terms include the following: electronically recorded
information such as electronic mail (“email”), html files, databases, data processing cards or tapes,
computerized data, computer diskettes, or information otherwise contained on a computer’s hard
drive, disks or backup tapes; video tapes, audio tapes, view-graphs, or any information maintained
on digital, electronic, magnetic or other media; and any other summary, schedule, memorandum,

note, statement, letter, telegram, interoffice COMMUNICATION, report, diary, worksheet, list,

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graph, chart, or index, tape record, partial or complete report of telephone or oral conversation,
transcript or minutes, compilation, tabulation, study, analysis, or other such writing or recording.
The terms “DOCUMENT” and “DOCUMENTS?” include any originals, all file copies, all other
copies, no matter how prepared, and all drafts prepared in connection with such DOCUMENTS,
whether or not used, as well as the file in which the DOCUMENTS are maintained. A draft or non-
identical copy of a DOCUMENT, including a copy or duplicate of a DOCUMENT that has any
nonconforming notes, marginal annotations or other markings, and any preliminary version, draft
or revision of the foregoing, is a separate DOCUMENT within the meaning of these terms.

5. “ELECTRONICALLY STORED INFORMATION” (“ESI”) has the same full
meaning as construed by TRCP 26 and 34 and includes, without limitation, the following:

a Activity listings of electronic mail receipts and/or transmittals;

b, Output resulting from the use of any software program, including without
limitation word processing documents, spreadsheets, database files, charts, graphs and outlines,
electronic mail, AOL Instant Messenger (or similar program) or bulletin board programs, operating
systems, source code, PRF files, PRC files, batch files, ASCII files, and all miscellaneous media
on which they reside and regardless of whether such electronic data exist in an active file, deleted
file, or file fragment;

c Any and all items stored on computer memories, hard disks, floppy disks,
CD-ROM, magnetic tape, microfiche, or on any other vehicle for digital data storage and/or
transmittal, including without limitation a personal digital assistant, e.g., Palm Pilot, Blackberry,
Treo, iPod, or other device; and

d. Plaintiff requests that ESI be processed and produced in a manner that

preserves all metadata and that the parties confer regarding the production of metadata and the

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form or any electronic production prior to the gathering or processing of ESI. Unless otherwise
requested, all such ESI is to be produced in an agreed-upon, computer searchable format.

6. “PERSON” means any individual, partnership, association, corporation, joint
venture, govermmental or administrative body, or other business or legal entities.

7. “POLICY” means any practice, procedure, directives, routine, rules, courses of
conduct or code of conduct, written or unwritten, formal or informal, recorded or unrecorded,
which were-recognized, adopted, issued or followed by YOU.

8. “YOU” or “YOUR” means Comcast Corporation and/or any managers, directors,
administrators, officers, executives, agents, contractors, fiduciaries, all employees or other
representatives of Comcast Corporation.

INTERROGATORIES

1, Identify all PERSONS, including but not limited to YOUR agents and/or
employees, responsible for formulating, supervising, or enforcing YOUR POLICIES
CONCERNING TCPA compliance, and describe those responsibilities.

2. Identify all PERSONS, including but not limited to YOUR agents and/or
employees, responsible for formulating, supervising, or enforcing YOUR POLICIES
CONCERNING making telephone calls to collect equipment or other debt, and describe those
responsibilities.

3. If YOU contend that plaintiff and/or prospective class members gave prior express
consent to receive AUTOMATED CALLS from YOU, identify all bases for YOUR contention,

including the time, date, and content of any alleged consent.

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Respectfully Submitted,

    

 

     

J.
525 4th Ave S
Nashville, TN 37210
(615) 353-0930

MILLER (#25575)

Attorneys for Plaintiff

Case 3:19-cv-00173-HSM-DCP Document 1-2 Filed 05/13/19 Page 21 0f 28 PagelD #: 27
IN THE CIRCUIT COURT OF KNOX COUNTY, TENNESSEE

a 25 PH 3:43

 

KNOX x COUNT, ¥ CIRCUIT,
AND JUVENILE co SUATS

Clarence Foust, individually and on
behalf of all others similarly situated, CIVIL SESSio
Plaintiff,
wv CaseNo: 3-103- ig
' JURY DEMAND
Comcast Corporation,
Defendant.

 

PLAINTIFF'S FIRST SET OF REQUESTS FOR PRODUCTION TO DEFENDANT

—

Pursuant to Rule 34 of the Tennessee Rules of Civil Procedure, plaintiff requests that
defendant produce the documents and electronically stored information described herein at
plaintiff counsel's office within 45 days of service. As required by Rule 34, please provide written.
responses to the following requests and produce the requested documents as they are kept in the
ordinary and usual course of business or organize and label the documents to correspond with the
categories in this request.

INSTRUCTIONS
1. Pursuant to TRCP 34.02, for each item or category, please provide for each written

response whether any responsive materials are being withheld and the basis of any objection, and
state, with specificity, the grounds for objecting to that request, including the reasons.

2, Pursuant to TRCP 26.02(5), if YOU withhold the production of any DOCUMENT
which is responsive to the following requests on the grounds that the DOCUMENT is privileged
or otherwise protected, YOU shall state in a privilege log the nature of the claim of privilege or
protection; and describe generally the type and nature of the DOCUMENT; the date of the

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DOCUMENT; the identity of the author(s), the addressees, and any recipients of the
DOCUMENT; the DOCUMENT's present location; and any other information that will enable
plaintiff and the court to assess the applicability of the privilege or protection.

3. Unless otherwise indicated, these requests shall pertain to the time period of
September 1, 2014 to the present and shall include al! DOCUMENTS and information that
RELATE in whole or in part to such period, or to events or circumstances during such period, even
though dated, prepared, generated, or received prior or subsequent to that period.

4, YOU are required to produce al] the requested DOCUMENTS which are in YOUR
possession, custody or control, including (by way of illustration only and not limited to).
DOCUMENTS in the possession, custody or control of Comcast Corporation or its affiliates, or
its merged and acquired predecessors, its present and former directors, officers, partners,
employees, accountants, attorneys or other agents, its present and former independent contractors’
over which it has control, and any other PERSON acting on YOUR behalf.

5. If a DOCUMENT responsive to these requests was at any time in YOUR
possession,. custody or control but is no longer available for production, as to each such
DOCUMENT state the following information:

a. Whether the DOCUMENT is missing or lost;

b. Whether the DOCUMENT has been destroyed;

C. Whether the DOCUMENT has been transferred or delivered to another
PERSON and, if'so, at whose request;

d. Whether the DOCUMENT has been otherwise disposed of: and

e. The circumstances surrounding the disposition of the DOCUMENT and the

date of its disposition.

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6. Wherever the word “or” appears herein, the meaning intended is the logical
inclusive “or,” i.e., “and/or.”

7. These Requests shall be deemed continuing so as to require seasonable
supplemental responses as YOU or YOUR attomeys obtain further information or materials from
the time YOUR answers are served until the time of trial.

DEFINITIONS

The following terms shall have the following meanings:

1, “AUTOMATED CALL” means any attempt to connect with a PERSON via placing
a telephone call or text message using equipment that has the capacity to (a) store or produce
telephone numbers to be called, or telephone numbers to which text messages can be sent; and (b)
dial such telephone numbers or send text messages without human intervention, whether or not.
such cipiacity was actually used to place a particular call or send a particular message. An
AUTOMATED CALL also means a call placed or a text message sent using a predictive dialer as
defined by the Federal Communications Commission in Rules and Regulations Implementing the.
Telephone Consumer Protection Act of 1991 (“TCPA™), CG Docket No. 02-278, Report and
Order, 18 FCC Red 14014, 14091 (2003), 4 131, and/or Jn re Rules and Regulations Implementing
the Telephone Consumer Protection Act of 1991, GC Docket 02-278, Order on Motion for
Reconsideration by ACA Intemational, 23 F.C.C.R. 559,99] 12-14 Gan. 4, 2008). An
AUTOMATED CALL also means a COMMUNICATION employing an artificial or prerecorded
voice, regardless of how such a COMMUNICATION was initiated.

2. “COMMUNICATION” means an instance in which words or information are

transferred or transmitted between two or more PERSONS by whatever manner or means, and

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regardless of how or by whom the COMMUNICATION was initiated, including, but not limited
to, correspondence, conversation, instructions, meetings, requests, demands, and conferences.

3. “CONCERNING” or “RELATING TO” means referring to, regarding, describing,
evidencing, constituting, discussing, memorializing, summarizing, recording or providing
evidence ofa subject matter.

4. The terms “DOCUMENT” or “DOCUMENTS” include, without limitation, any
ELECTRONICALLY STORED INFORMATION and/or typewritten, handwritten, graphic,
photographic, printed or otherwise recorded matter or recording of symbols in tangible form,
however produced or reproduced, of every kind and regardless of where located, which is in
YOUR possession, custody, or control; or in the possession, custody or control of any servant or
agent of YOU or of YOUR attomeys. The terms include the following: electronically recorded
information such as electronic mail (“email”), html files, databases, data processing cards or tapes,
computerized data, computer diskettes, or information otherwise contained on a computer's hard
drive, disks or backup tapes; video tapes, audio tapes,.view-graphs, or any information maintained
on digital, electronic, magnetic or other media; and any other summary, schedule, memorandum,
note, statement, letter, telegram, interoffice communication, report, diary, worksheet, list, graph,
chart, or index, tape record, partial or complete report of telephone or oral conversation, transcript
or minutes, compilation, tabulation, study, analysis, or other such writing or recording. The terms
“DOCUMENT” and “DOCUMENTS?” include ny originals, all file copies, all other copies, no:
matter how prepared, and all drafts prepared in connection with such DOCUMENTS, whether or
not used, as well as the file in which the DOCUMENTS are maintained. A draft or non-identical
copy of a‘DOCUMENT, including a copy or duplicate of a DOCUMENT that has any

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nonconforming notes, marginal annotations or other markings, and any preliminary version, draft
or revision of the foregoing, is a separate DOCUMENT within the meaning of these terms.

5. “ELECTRONICALLY STORED INFORMATION” (“ESI”) has the same full
meaning as construed by TRCP 26 and 34 and includes, without limitation, the following:

a. Activity listings of electronic mail receipts and/or transmittals;

b. Output resulting from the use of any software program, including without
limitation word processing documents, spreadsheets, database files, charts, graphs and outlines,-
electronic mail, AOL Instant Messenger (or similar program) or bulletin board programs, operating
systems, source code, PRF files, PRC files, batch files, ASCII files, and all miscellaneous media
on which they reside and regardless of whether such electronic data exist in an active file, deleted’
file, or file fragment;

c. Any and all items stored on computer memories, hard disks, floppy disks,
CD-ROM, magnetic tape, microfiche, or on any other vehicle for digital data storage and/or
transmittal, including without limitation a personal digital assistant, ¢.g., Palm Pilot, Blackberry,
Treo, iPod, or other device; and

d. Plaintiff requests that ESI] be processed and produced in a manner that
preserves all metadata and that the parties confer regarding the production of metadata and the
form or any electronic production prior to the gathering or processing of ESI. Unless otherwise
requested, all such ESI is to be produced in an agreed-upon, computer searchable format.

6. “PERSON” means any individual, partnership, association, corporation, joint
venture, governmental or administrative body, or other business or legal entities.

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‘7. “POLICY” means any practice, procedure, directives, routine, rules, courses of
conduct or code of conduct, written or unwritten, formal or informal, recorded or unrecorded,
which were recognized, adopted, issued or followed by YOU.

&. “YOU” or “YOUR” means Comcast Corporation and/or any managers, directors,
administrators, officers, executives, agents, contractors, fiduciaries, all employees or other
representatives of Comcast Corporation.

BEQUESTS FOR PRODUCTION
1. All DOCUMENTS that contain any evidence or indication that plaintiff and/or

prospective class members gave prior express consent to receiving AUTOMATED CALLS from,
YOU. This request includes YOUR POLICIES for obtaining prior express consent.

2. All DOCUMENTS referencing and/or RELATING TO plaintiff and/or his
telephone number. This request includes any voice recordings CONCERNING plaintiff and/or his
telephone number, and any voice recording of any phone call with plaintiff.

3. All recordings, scripts, conversation templates, matrixes, flowcharts, and/or other
DOCUMENTS that YOU used during any AUTOMATED CALL to plaintiff and/or any

prospective class member.
4, All DOCUMENTS that define or describe YOUR DOCUMENT and/or ESI

retention, preservation, and/or destruction POLICIES, including DOCUMENTS and/or ESI
pertaining to YOUR telephone contact with PERSONS.

5. . Alli DOCUMENTS CONCERNING or RELATED TO the dialer(s) that made calls
to plaintiff or any prospective class member. This request includes, without limitation, all niuelés

guides, installation documents, operations data sheets, whitepapers, technical summaries,

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AUTOMATED CALL. This request includes all forms of COMMUNICATIONS ~— either in
writing or orally, formal or informal, to YOU.

12. All DOCUMENTS identifying, describing, and/or listing the various offices,
regions, units, or divisions within YOU, including but not limited to organizational charts, lists of
YOUR office locations, and telephone or e-mail lists or directories.

13, Any DOCUMENT supporting any defense YOU make now or in YOUR answer to

the complaint in this case.

Respectfully Submitted,
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BENJAMIN J. MILLER (#25575)
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(615) 353-0930

Attorneys for Plaintiff

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